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                            UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF PENNSYLVANIA

IN RE UNITED STATES STEEL                          ) Lead Case No.: 2:17-cv-01005-CB
CORPORATION DERIVATIVE                             )
LITIGATION                                         )
                                                   ) (Derivative Action)
                                                   )
This Document Relates To:                          )
                                                   ) Electronically Filed
                ALL ACTIONS.                       )
                                                   )


    JOINT MOTION TO DEFER PROCEEDINGS PENDING DEVELOPMENTS IN
       RELATED SECURITIES CLASS ACTION AND [PROPOSED] ORDER

       The Parties1 jointly move the Court to enter an order, in the form of Exhibit A hereto, to

defer all proceedings in this action, and to hold all deadlines in abeyance, pending developments

in a related securities action currently pending before the Court. The Parties believe that entry of

the proposed order will conserve the resources of the Parties and the Court, and otherwise

promote the ends of justice. In support of this Motion, the Parties state as follows:

       1.       On September 13, 2017, two shareholder derivative actions, putatively brought on

behalf of nominal defendant U.S. Steel, were deemed related and consolidated, upon stipulation

and Order of the Court, into the above-captioned consolidated derivative action (the

"Consolidated Derivative Action") (see Dkt. No. 8).




1
  The "Parties" include, collectively, plaintiffs Jared Gochnour, Richard Summerville, and
Central Laborers' Pension Fund ("Plaintiffs"), individual defendants David B. Burritt, David S.
Sutherland, John G. Drosdick, Glenda G. McNeal, Patricia A. Tracey, Dan O. Dinges, John J.
Engel, Murry S. Gerber, Patricia Diaz Dennis, Robert J. Stevens, Paul A. Mascarenas, Stephen J.
Girsky, and Mario Longhi ("Individual Defendants"), and nominal defendant United States Steel
Corporation ("U.S. Steel" or the "Company") (U.S. Steel, together with Individual Defendants
are referred to herein as "Defendants").
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       2.       The Court appointed Johnson Fistel, LLP (which, along with its predecessor firm,

Johnson & Weaver, LLP, is referred to herein as "Johnson Fistel")2 and Robbins Arroyo LLP

("Robbins Arroyo") as Co-Lead Counsel in the Consolidated Derivative Action for Plaintiffs (see

Dkt. No. 8).

       3.       On October 2, 2017, a third shareholder derivative action, styled Central

Laborers' Pension Fund v. Burritt, et al., Civil Action No. 2:17-cv-01279-CB (W.D. Pa.) (the

"Central Laborers' Action") was filed in this Court.

       4.       On October 18, 2017, upon a stipulation of the Parties, the Court entered an Order

consolidating the Central Laborers' Action into the Consolidated Derivative Action and setting a

schedule for Plaintiffs to file a consolidated complaint by December 4, 2017, and thereafter a

schedule for the Defendants to file a response or answer to the consolidated complaint and for

Plaintiffs to respond.

       5.       A class action alleging violations of the federal securities laws against U.S. Steel

and certain of its officers was filed and is also pending in the United States District Court for the

Western District of Pennsylvania, styled Vrakas v. United States Steel Corporation, Civil Action

No. 2:17-cv-00579-CB (the "Securities Class Action").

       6.       An Amended Class Action Complaint for Violations of the Federal Securities

Laws ("Amended Complaint") was filed by lead plaintiff in the Securities Class Action on

October 2, 2017.

       7.       Pursuant to a Joint Proposed Scheduling Order entered in the Securities Class

Action, defendants are to file their motions to dismiss the Amended Complaint on or before



2
   A Notice of Change of Firm Name from Johnson & Weaver, LLP to Johnson Fistel, LLP was
filed on September 15, 2017 (see Dkt. No. 9).



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December 14, 2017, and briefing on defendants' anticipated motions to dismiss is scheduled to

be completed on or before March 14, 2018 (see Securities Class Action, Dkt. No. 49).

          8.       All Parties agree that in the interests of preserving the Parties' and the Court's

resources, efficient and effective case management, moving the case expeditiously towards trial,

and for circumstances unique to this case, this matter should be deferred until the earlier of thirty

(30) days after the entry of an order on defendants' anticipated motion to dismiss the Securities

Class Action, a final order dismissing the Securities Class Action with prejudice, or until

otherwise agreed to by the Parties, but subject to each party's right (i) to move the Court to lift or

extend the deferral and (ii) to oppose such motions. The Parties believe that deferring this matter

as proposed may allow for the avoidance or reduction of certain preliminary motion practice in

the Consolidated Derivative Action.

          9.       The Parties also agree that the following terms should be incorporated into an

order deferring the Consolidated Derivative Action, and that such terms are consistent with

judicial and party economy (these terms are included in the proposed order, attached as Exhibit

A hereto):

                   a.     Notwithstanding the deferral of the Consolidated Derivative Action,

Plaintiffs shall be permitted to file a consolidated complaint during the pendency of the deferral.

Defendants shall be under no obligation to respond to any such complaint while the Consolidated

Derivative Action is deferred, unless otherwise ordered by the Court.

                   b.     The Parties agree that if any discovery occurs in the Securities Class

Action while the Consolidated Derivative Action is deferred, the Parties will meet and confer

regarding the possible production and use of such discovery in the Consolidated Derivative

Action.




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               c.     The Parties agree that if documents are produced by U.S. Steel or any of

the Individual Defendants in connection with any related derivative action or in response to an

inspection demand or action under title 8, Delaware Code § 220 ("§ 220") while the

Consolidated Derivative Action is deferred, U.S. Steel will provide Plaintiffs with copies of such

documents and written discovery responses produced by U.S. Steel and/or the Individual

Defendants.

               d.     With regard to transcripts of depositions taken in any related derivative

action, or in response to an inspection demand or action under § 220, U.S. Steel shall provide

Plaintiffs with court reporter contact information within five (5) business days of any deposition

so that Plaintiffs may request copies of deposition transcripts. The Company will not oppose

such requests for transcripts (or portions thereof) that have been designated as confidential by

U.S. Steel under any confidentiality agreement or order governing the documents produced in

the related derivative action, or in response to an inspection demand or action under § 220.

               e.     Plaintiffs' right to receive documents, written discovery responses, or

deposition transcripts as described above will be contingent upon their agreement to be bound by

any agreement or order governing those materials in the related derivative action or in response

to an inspection demand or action under § 220, with the express understanding that Plaintiffs

shall be entitled to use any such documents produced to them pursuant to this Agreement in the

Consolidated Derivative Action. If Plaintiffs cannot become a party to any such agreement or

order, they will enter into a separate agreement with U.S. Steel acknowledging their agreement

to be bound by the terms of such agreement or order, with the express understanding that

Plaintiffs shall be entitled to use any such documents produced to them pursuant to this

Agreement in the Consolidated Derivative Action, and further will agree that their




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acknowledgement of the agreement or order may be enforceable in the Consolidated Derivative

Action.

                 f.      Within thirty (30) days of the ruling on defendants' anticipated motion to

dismiss the Securities Class Action or at such other time as may be agreed to by the Parties, the

Parties will meet and confer concerning a schedule for further proceedings in the Consolidated

Derivative Action and will propose a schedule to the Court accordingly.

                                                ****

          For the reasons set forth herein, the Parties accordingly jointly move that the Court enter

an order, in the form of Exhibit A hereto, deferring further proceedings in the Consolidated

Derivative Action until the earlier of thirty (30) days after the entry of an order on defendants'

anticipated motion to dismiss the Securities Class Action, a final order dismissing the Securities

Class Action with prejudice, or until otherwise agreed to by the Parties, but subject to each

party's right (i) to move the Court to lift or extend the deferral and (ii) to oppose such motions.

DATED: November 30, 2017                         Respectfully submitted,

                                                 ROBBINS ARROYO LLP
                                                 BRIAN J. ROBBINS
                                                 GEORGE C. AGUILAR
                                                 STEVEN M. MCKANY

                                                            /s/ George C. Aguilar
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                                                 Attorneys for Plaintiff Summerville and
                                                 Co-Lead Counsel for Plaintiffs


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                                   Liaison Counsel for Plaintiffs

DATED: November 30, 2017           JONES DAY
                                   MARGARET C. GLEASON (PA #201742)
                                   LEON F. DEJULIUS, JR. (PA #90383)

                                              /s/ Margaret C. Gleason
                                             MARGARET C. GLEASON


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                                      Counsel for Individual Defendants

DATED: November 30, 2017              UNITED STATES STEEL CORPORATION
                                      TIMOTHY J. CORNETTI (PA #76501)

                                                    /s/ Timothy J. Cornetti
                                                  TIMOTHY J. CORNETTI

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                                      Steel Corporation



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       Exhibit A
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                             UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA

IN RE UNITED STATES STEEL                           ) Lead Case No.: 2:17-cv-01005-CB
CORPORATION DERIVATIVE                              )
LITIGATION                                          )
                                                    ) (Derivative Action)
                                                    )
This Document Relates To:                           )
                                                    ) Electronically Filed
                ALL ACTIONS.                        )
                                                    )


        [PROPOSED] ORDER ON JOINT MOTION TO DEFER CASE PENDING
           DEVELOPMENTS IN RELATED SECURITIES CLASS ACTION

       Upon consideration of the Parties' Joint Motion to Defer Case Pending Developments in

Related Securities Class Action, the Court finds that said motion is well-taken and should be

GRANTED. Accordingly, the Court hereby ORDERS as follows:

       1.       This matter shall be deferred until the earlier of thirty (30) days after (i) the entry

of an order on defendants' anticipated motion to dismiss in the action captioned Vrakas v. United

States Steel Corporation, Civil Action No. 2:17-cv-00579-CB (the "Securities Class Action"),

(ii) a final order dismissing the Securities Class Action with prejudice, or (iii) until otherwise

agreed to by the Parties, but subject to each party's right (a) to move the Court to lift or extend

the deferral and (b) to oppose such motions. All other deadlines previously established in this

action are hereby vacated.

       2.       Notwithstanding the deferral of the Consolidated Derivative Action, Plaintiffs

may file a consolidated complaint during the pendency of the deferral. Defendants shall be

under no obligation to respond to any such complaint while the Consolidated Derivative Action

is deferred, unless otherwise ordered by the Court.
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       3.      If any discovery occurs in the Securities Class Action while the Consolidated

Derivative Action is deferred, the Parties will meet and confer regarding the possible production

and use of such discovery in the Consolidated Derivative Action.

       4.      If documents are produced by U.S. Steel or any of the Individual Defendants in

connection with any related derivative action or in response to an inspection demand or action

under Title 8, Delaware Code § 220 ("§ 220") while the Consolidated Derivative Action is

deferred, U.S. Steel will provide Plaintiffs with copies of such documents and written discovery

responses produced by U.S. Steel and/or the Individual Defendants, subject to the provisions of

paragraph 6 below.

       5.      With regard to transcripts of depositions taken in any related derivative action, or

in response to an inspection demand or action under § 220, U.S. Steel shall provide Plaintiffs

with court reporter contact information within five (5) business days of any deposition so that

Plaintiffs may request copies of deposition transcripts. The Company will not oppose such

requests for transcripts (or portions thereof) that have been designated as confidential by U.S.

Steel under any confidentiality agreement or order governing the documents produced in the

related derivative action, or in response to an inspection demand or action under § 220, subject to

the provisions of paragraph 6 below.

       6.      Plaintiffs' right to receive documents, written discovery responses, or deposition

transcripts as described above will be contingent upon their agreement to be bound by any

agreement or order governing those materials in the related derivative action or in response to an

inspection demand or action under § 220, with the express understanding that Plaintiffs shall be

entitled to use any such documents produced to them pursuant to this Agreement in the

Consolidated Derivative Action. If Plaintiffs cannot become a party to any such agreement or




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order, they will enter into a separate agreement with U.S. Steel acknowledging their agreement

to be bound by the terms of such agreement or order, with the express understanding that

Plaintiffs shall be entitled to use any such documents produced to them pursuant to this

Agreement in the Consolidated Derivative Action, and further will agree that their

acknowledgement of the agreement or order may be enforceable in the Consolidated Derivative

Action.

          7.   Within thirty (30) days of the expiration of the deferral period set forth in

paragraph 1 above, or at such other time as may be agreed by the Parties, the Parties will meet

and confer concerning a schedule for further proceedings in the Consolidated Derivative Action

and will propose a schedule to the Court accordingly.

          IT IS SO ORDERED.

                                               _______________________________________
                                                    HONORABLE CATHY BISSOON
                                                   UNITED STATES DISTRICT JUDGE




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                               CERTIFICATE OF SERVICE

       I, George C. Aguilar, hereby certify that the foregoing Joint Motion to Defer Proceedings

Pending Developments in Related Securities Class Action and [Proposed] Order, and Exhibit A

thereto, was served upon all counsel of record by ECF filing this 30th day of November, 2017.



                                                             /s/ George C. Aguilar




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